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MINUTE ENTRY
FALLON, J.
DECEMBER 7, 2022



                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF LOUISIANA


   BROWN, ET AL                                                               CIVIL ACTION

   VERSUS                                                                     NO. 22-847

   BURMASTER, ET AL                                                           SECTION "L" (4)




       A telephone status conference was held on this date from the Chambers of the Honorable

Eldon E. Fallon. William Brock Most and Tarak Anada participated on behalf of Plaintiffs Derek

Brown and Julia Barecki Brown. Chester Theodore Alpaugh, III participated on behalf of Defendant

Derrick Burmaster. James Roquemore participated on behalf of Shaun Ferguson and the City of

New Orleans. Counsel discussed the status of the case and procedural plans to move it forward.

Counsel informed the Court that there are ongoing discovery issues and asked that discovery

deadlines be continued.

       IT IS ORDERED that parties shall confer and, by December 17, 2022, contact the Court

with proposed alternate discovery deadlines. The Court will convene another status conference if

necessary.




   JS10 (00:08)
